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            EXHIBIT B
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                                                EXPENSE SUMMARY

                                            Service Description                                               Amount



Airfare, travel service fees                                                                                       $471.0
Long Distance/Conference Telephone Charges                                                                         $898.05

Computerized Legal Research                                                                                        $225.50

Postage, Messenger, Service, and Miscellaneous                                                                     $112.89

Total:                                                                                                           $1,707.64


                                                ITEMIZED EXPENSES

                                                           Travel

     Date                Amount                                           Service Description

    12/08/09                                  United Airlines- Roundtrip airfare to Pittsburgh and travel fee for closing
                                $ 413.20
                                              argument hearings.

    12/08/09                    $   58.00     Best Travel - travel fee re cancelled flight for December Omnibus hearing.

     Total                      $471.20


                                                        Non-Travel

     Date                Amount                                           Service Description

   12/21/09                     $ 225.50      Lexis/Nexis Charges for November

   12/31/09                                   Federal Express/Kinkos - shipping charges for materials for Closing
                                $ 112.89
                                              Argument hearings.

   12/31/09                     $ 139.03      Long Distance Telephone services for Grace for November and December

   12/31/09                     $ 759.02      InterCall - Conference call services for December for Grace conferences

     Total                     $1,236.44


Total October Expenses: $1,236.44




                                                               2
